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EXHIBIT 031

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l
l REPORTER'S RECORD
VOLUME 22 OF 30 VOLUMES
2 TRIAL COURT CAUSE NO. 1073163
3 COURT OF CRIMINAL APPEALS NO. AP-75,633
4
STATE OF TEXAS )IN THE DISTRICT COURT
5 V. ;OF HARRIS COUNTY, TEXAS
6 HOWARD PAUL GUIDRY ;230TH JUDICIAL DISTRICT
7
8
9 TRIAL ON THE MERITS
10
11
12 On the 21st day of February, 2007, the following
13 proceedings came on to be held in the above~titled
14 and numbered cause before the Honorable Doug Shaver,
15 Judge Presiding, held in Houston, Harris County,
16 TeXaS.
17 Proceedings reported by computerized stenotype
18 machine.
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20
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22 GINA BENCH
DEPUTY OFFICIAL COURT REPORTER
23 230TH DISTRICT COURT
HARRIS COUNTY, TEXAS
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GUIDRY EX. 031
Guidry v. Thaler
41 1 2-mc-00441

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THE JURY: Good morning.
THE COURT: Ms. Siegler.
SCOTT F. BASINGER, Ph.D.
having been first duly sworn, testified as follows:
DIRECT EXAMINATION

BY MS. SIEGLER:

Q Sir, could you tell us all your name, please?

A My name is Scott Basinger, B-a-s-i-n-g-e-r.

Q And what do you do for a living?

A I'm the associate dean at Baylor College of
Medicine.

Q Can you give the jury the benefit of your

educational training and your background?

A I have a Ph.D. in molecular biology. I have
expertise in the molecular biology of the nervous system
in the brain. I have also been trained in human
behavior. I work in the field of addiction and
addiction medicine.

Q And as part of your training and as part of
your job, are you also called upon to be an expert

witness in those areas and to testify in that regard?

A I am.

Q You have been before in the past?

A I have been.

Q As a matter of fact, Dr. Basinger, are you here

 

 

 

 

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today because you've been subpoenaed to be here today?

A I am.

Q And that's the only reason you're here?

A Correct.

Q As someone who's testified previously in other
cases in other trials -- you've done that, have you not,
sir?

A I have, yes.

Q And because you've testified before, you're

familiar with the way the rules work in the courtroom,
the rules of evidence, that sort of thing?

A Somewhat, yes.

Q And as an expert witness, you appreciate that
when you're called down to testify as an expert by one

side, the other side has a right to ask you questions?

A I am.

Q And that's called cross-examination?

A Correct.

Q And you are familiar with the phrase that in

Texas under our rules, cross-examination is what's

called wide open cross-examination?

A I wasn't familiar with that, but --

Q Now you are?

A I am now.

Q And you understand that that means when one

 

 

 

 

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side calls you about a certain subject, the other side
has a right to ask you about everything. There's no
limit on the cross-examination?

A Apparently that's true.

Q And you also understand as a doctor, as a
Ph.D., that when you're called to testify as an expert
for either side, one side or the other, any privilege
that you have as an expert with that attorney is waived
once you hit the witness stand?

MS. MULDROW: That's a misstatement of
the law. It's depending upon the circumstances.
THE COURT: That will be sustained.

Q (By Ms. Siegler) Do you understand the
difference, Dr. Basinger, between a consulting expert
only and a testifying expert?

A I do not.

Q Dr. Basinger, are you a proponent or an
opponent of the death penalty?

MS. MULDROW: That's irrelevant, Your
Honor.
THE COURT: That's sustained.

Q (By Ms. Siegler) Were you called upon, sir,
back in 1997 to interview Howard Paul Guidry, the
defendant in this case?

A I was.

 

 

 

 

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1 Q And do you recognize Mr. Guidry in the

2 courtroom today?

3 A I do.

4 Q Back in 1997 were you called to interview

5 Howard Paul Guidry by Howard Paul Guidry's lawyers?

6 A Yes.

7 Q Not by the State?

8 A Correct.

9 Q And did you interview him?

10 A I did.

11 Q On one occasion?

12 A On one occasion.

13 Q And as a result of that interview, were you
14 later called to court to testify as a defense expert
15 witness?

16 A I was.

17 Q And was that back in 1997?

18 A Yes.

19 Q Obviously Howard Guidry's lawyers asked you

20 questions back in 1997?

21 A They did.

22 Q And then you were passed to the prosecutors?
23 A I was.

24 Q And in that case you were passed to be asked

25 questions of by me, were you not?

 

 

 

 

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A That is correct.
Q And I'm the one who asked you the questions
back in 1997?
A Yes.
Q Do you recall back in 1997, Dr. Basinger, that

I asked you whether or not you ever asked Howard Paul

Guidry if he told you he shot Farah Fratta two times in

the head?

A I remember you asking me that, yes.

Q And did you answer my question back then?

A I did.

Q And what was your answer to that question back
then?

MS. MULDROW: Same objections as
previously lodged before, Your Honor.

THE COURT: That's overruled. The
Court's ruling will remain the same.

MS. MULDROW: And ask for a running
objection.

THE COURT: You have it.

A To be specific, I never asked Howard Paul

Guidry if he had shot --

MS. MULDROW: Nonresponsive, Your Honor.

THE COURT: That's sustained.

Q (By Ms. Siegler) Did you answer my question ~-

 

 

 

 

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how did you answer my question back in 1997 when I asked
you did Howard Paul Guidry ever tell you that he shot
Farah Fratta two times in the head? What did you answer
back then?

A I answered in the affirmative.

Q You said he did, did you not?

A I said he did.

Q And then traveling forward in time to back in
July of last year, July of 2006 --

MS. MULDROW: And, Your Honor, I'm going
to object to the substance of anything regarding a
matter that was not before this jury. It's strictly a
legal issue being brought at this time.

THE COURT: That's overruled.

Q (By Ms. Siegler) Do you recall my asking you in
July of 2006 whether or not Howard Paul Guidry told you
he shot Farah Fratta two times in the head and you heard
that out of the mouth of Howard Guidry?

A Yes.

Q And what did you say?

A Yes.

Q As an expert witness called down to testify in
court, Dr. Basinger, do you appreciate that when lawyers
decide to put you on the stand, they make those

decisions, weighing the points they hope to make versus

 

 

 

 

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the points that might hurt them depending on
cross-examination?

A I agree.
MS. MULDROW: Speculation, Your Honor.
THE COURT: That's overruled.

A I appreciate that,

Q (By Ms. Siegler) You know that's the way it

works?
A I know that's the way it works.
Q Every single time we put a witness on the stand

we cross our fingers and hope for the good points and
hope the bad points don't hurt us.
A I imagine that's true.

MS. SIEGLER: Pass the witness.

THE COURT: Cross-examine?

MS. MULDROW: No questions, Your Honor.

THE COURT: Is he free to go?

MS. SIEGLER: YeS, he iS.

MS. MULDROW: Yes.

THE COURT: You're free to go. Thank
you, Doctor.

Call your next.

MS. SIEGLER: The State calls Nyandre
Perry.

And Deputy Resendez, he's going to be in

 

 

 

 

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the back.

MS. MULDROW: May we approach, Your
Honor?

THE COURT: YeS.

(At the Bench)

MS. MULDROW: Judge, just so the record
is clear, Mr. Perry was a witness in the punishment
phase of the prior trial regarding extraneous under
404(b) and I just want a proffer from the State of the
purpose of this particular witness at this phase of the
case.

THE COURT: What is he going to testify
to?

MS. SIEGLER: First of all, Judge, he
understands fully he's not to talk about punishment
evidence, the bank robbery, any other robberies, the
fact they were smoking dope together all the time, and
all the other crimes he committed. His purpose for
being called today is to tell the jury that Howard
Guidry gave him the murder weapon back in '94, November
of 1994. So he can put the murder weapon in the hands
of Guidry well before the four months --

THE COURT: Your objection is overruled.

On that limited purpose.

(Open court.)

 

 

 

 

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THE COURT: Do you want to raise your
right hand for us?
(Witness sworn.)
NYANDRE PERRY,
having been first duly sworn, testified as follows:
DIRECT EXAMINATION

BY MS. SIEGLER:

Q Sir, could you tell us all your name, please?

A Nyandre Xavier Perry.

Q What first name do you go by?

A Dre.

Q Your last name is Perry?

A Yes, ma'am.

Q Mr. Perry, tell the jury how old you are.

A 33.

Q And tell the jury why it is you're wearing an
orange jumpsuit.

A Bench warranted from TDC for Guidry trial.

Q Okay. And you're currently being incarcerated

in the Harris County Jail, are you not?

A Yes, ma'am.

Q What's your birth date?
A 9-1-73.

Q Where did you grow up?

 

 

 

 

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TDC?

A Yeah, $100.

Q So they give guys that are let out of TDC,
discharged, $100?

A Yes, ma'am.

Q Every time they're let out?

A Yes, ma'am.

Q Because you're going to be discharged out of
the county jail and not TDC due to my bench warrant,
what have l promised you l would do?

A That l be reimbursed, compensated for my $100

from the State.
Q lnstead of the TDC $100 that you can't get

because l brought you here, I'm going to give you a 100

dollars?
A Right.
Q Is that right?
A Right.
Q Okay. So a grand total, altogether money,

we're talking about how much?

A 600.

Q Other than the way your discharge works, that
had nothing to do with, and this commissary money and
TDC discharge money, are there any other agreements,

deals or understandings between you and me?

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MS. MULDROW: And currently unreliable
from a codefendant and an ag robbery -- two agg
robberies I believe, in which they were arrested in in
March of '95 with every reason in the world to, l guess,
enhance whatever it is he's trying to get from the State
today.

THE COURT: Well, the jury can determine
his credibility. That's what their job is. Your
objection is overruled. You will have a running
objection.

Bring me a jury, please.

Did we swear you in when you came out?
Do you want to raise your hand?

(Witness sworn.)

THE COURT: Put your hand down. Listen
to the questions and answer just their questions. And
lean in the microphone where we can hear you,

(Jury present.)

THE COURT: Everyone be seated, please.

Ms. Siegler.

KENNO HENDERSON,

having been first duly sworn, testified as follows:
DIRECT EXAMINATION

BY MS. SIEGLER:

Q Sir, could you tell us all your name, please?

 

 

 

 

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in front of the jury, everybody is under oath, right?

A Yes, ma'am.
Q And l told you that there would be a lady
sitting in front of you -- that's Gina -~ taking it all

down because she's a court reporter?

A Yes, ma'am.

Q And did l promise you that when we got through
with court today Luci and l would ask Gina to transcribe
and put down and print out everything you testify about

so you will have a hard copy?

A Yes, ma'am.

Q Did l make that promise to you?

A Yes, you did.

Q And by the way, your dad and your step-mom are

here today and they're going to give me their address
and I'm going to mail them a copy also. ls that part of
our deal?

A Yes, ma'am.

Q And the reason you want that down in writing
and the reason I'm going to give your dad a copy in
writing is because you want to take the copy of your
testimony today and make sure who gets it?

MS. MULDROW: And, Your Honor, l object
to the unsworn testimony.

THE COURT: That's overruled.

 

 

 

 

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Q (By Ms. Siegler) Who do you want to make sure
gets a copy of this, Mr. Henderson?

A Parole Board.

Q Okay. Let's talk about that. You have been
serving a 25-year sentence since 1996; is that right?

A Yes, ma'am.

Q When is the first time you have your very first
parole board hearing?

A 2008.

Q What month?

A June.

Q June of 2008?

A Yes, ma'am.

Q And when you got sentenced to 25 years, your
sentence was for aggravated time, right?

A Yes, ma'am.

Q Which means you have to serve at least how much

of your time, what percent?

A Half.

Q So 25 divided by 2 is 12-and-a-half?

A Yes, ma'am.

Q 1996 plus 12-and-a-half gets us to 2008; is

that right?
A Well, from '95.

Q '95, because of you getting credit for all that

 

 

 

 

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A Kevin.

Q Who was in the front passenger seat?

A Nyandre.

Q And where were you?

A Backseat.

Q Whose car were y'all in?

A If I'm not mistaken, Kevin's sister's.

Q Driving around coming from the gun show that
day, did you hear Kevin say something?

A He was, like I said, he was talking to Nyandre

about some guy owing him a thousand dollars for doing
something. He said the guy didn't pay him or something.
He said the dude didn't pay me, I do something to him.

Q Okay. You said that real fast. Let's back up.

A He was talking about some guy owed him some
money to Nyandre, a guy owed him some money,

Q How much money did Kevin tell Nyandre the guy
owed him?

A A thousand dollars.

Q What did he say about the fact that the man
owed him a thousand dollars?
He hadn't got paid yet.
Had not got paid?

Yes, ma'am.

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And what else did he say?

 

 

 

 

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at 10 till. We will continue at 10 minutes to 11:00.
(Recess taken)
(Jury present.)
THE COURT: All right. Everyone be
seated, please.
Ms. Davidson.
MS. DAVIDSON: Thank you, Judge.
GLORIA RUBAC,
having been previously duly sworn, testified as follows:
DIRECT EXAMINATION
BY MS. DAVIDSON:
Q Can you introduce yourself to the ladies and

gentlemen of the jury?

A My name is Gloria Rubac.

Q What do you do for a living, Ms. Rubac?
A I teach school.

Q Where do you teach?

A For Houston ISD.

Q In what particular school do you teach?
A Oh, Osborne Elementary.

Q Where is Osborne Elementary located?

A Off of 45 North and Little York.

Q How long have you been a teacher?

A Twenty-two years,

Q Have you always taught for the Houston

 

 

 

 

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Independent School District?
A All except three years.
Q And where did you teach those three years?
A North Forest.
Q And when was that?
A That was right after I got out of college, in
the 60's.
Q Do you also freelance report for a newspaper by
the name of Workers World?
A Occasionally.
Q Can you tell the jury what Workers World is?
A It's a newspaper for working people.
Q What kind of articles are in that newspaper?
MS. MULDROW: Irrelevant, Your Honor.
THE COURT: That's overruled.
Go ahead.
THE WITNESS: I'm sorry. I didn't hear
what you said.
THE COURT: You can answer.
THE WITNESS: Okay.
A Articles that average working people are
interested in: Healthcare, criminal justice, housing.
Q (By Ms. Davidson) And does Workers World oppose

the death penalty?

MS. MULDROW: Irrelevant, Your Honor.

 

 

 

 

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THE COURT: Overruled.

A Yes.

Q (By Ms. Davidson) And you do as well?

A Yes, I do.

Q Have you come to know a person by the name of
Howard Paul Guidry?

A Uh-huh. Yes,

Q Do you see Mr. Guidry in the courtroom today?

A Uh-huh, I do.

Q Just so the record is clear, this man I'm
pointing at right here, is this Howard Paul Guidry?

A Yes.

Q When was it that you met him?

A Oh, sometime in the late 90's, I think.

Q And just so everybody is clear, you're only
here because you're under subpoena; is that correct?

A Uh~huh.

Q And I met you for the first time this morning;
is that correct?

A Yes, ma'am.

Q Okay. So you met him in the late 90's; is that

what you said?

A (Nodding head in the affirmative.)
Q And have you visited him in the Harris County
Jail?

 

 

 

 

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A Yes,

Q On few or many occasions?

A A dozen or more maybe.

Q A dozen or more times?

A (Nodding head in the affirmative.)

Q Have you written him letters?

A Yes. v

Q On few or many occasions?

A Few.

Q Have you written articles about him in Workers
World?

A Yes,

Q And have you talked to him on the phone on few
or many occasions?

A Many.

Q And, in fact, you've talked to him since April

approximately 170 times, have you not?
A Probably.
Q Can you tell the jury how it is that you

receive a phone call from an inmate in Harris County

Jail?
A What happens when you receive it?
Q Uh-huh.
A It's a collect call.
Q So you hear an operator say, "You have a

 

 

 

 

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collect call from the Harris County Jail"?

A It's a recording.

Q And does it take any part on your part to
accept that call?

A Yeah. You have to punch a button.

Q Okay. And when Mr. Guidry would call you from
the Harris County Jail, would you always accept his
phone calls?

A Yeah.

Q And since they are collect phone calls, you
were charged for that, are you not?

A I was what?

Q Charged?

A Oh, yes, ma'am, I was charged.

Q And how much does the Harris County Jail charge
you for each and every collect phone call?

A 3.50 or $4.

Q So for 170 calls, 3.50 to $4 apiece, how much
money do you think you've spent on these phone calls
with Mr. Guidry?

A In the course of almost a year, maybe 3 or
$400.

Q Now, when you accept a phone call, specifically

with this defendant, is there a recording at the

beginning of the phone call telling you this call could

 

 

 

 

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be recorded o

r monitored?

So you can hear that?

A Yeah,

Q

A Uh-huh.
Q

A

Q Well

you even said to him, "Man, do you have to listen to
that every single time," and he laughed and said,

A Oh, yeah, I think so. Uh-huh.

I think they say it's monitored.

And the defendant can hear that?

I don't know what he can hear.

, isn't it a fact in one of the phone calls

hears it, too.

Q And each call from him was approximately,

or take a few minutes, 20 minutes;

A I think so, yes.

Q So you have spoke to him 170 calls at 20

minutes a cal

is that correct?

l? You would agree that's a bunch,

I guess he

"Yes"?

give

you not?

A Yeah.

Q And during the course of these phone
conversations, Ms. Rubac, did you ask him at some point

about any specifics about the facts of his case,

specifically
A Yes.
Q You

he came into

about the gun?

asked him three different times about how

contact with that gun,

did you not?

 

 

 

 

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A I believe so.
MS. DAVIDSON: May I approach the
witness, Judge?
THE COURT: YeS.
Q (By Ms. Davidson) Ms. Rubac, I'm going to show

you what I've already showed you this morning that I've
marked as State's Exhibit No. 181, which is a phone
conversation you had with the defendant on May 5th of
2006; State's Exhibit 182, which is a phone ca11 you had
with the defendant on July 12 of 2006; and State's
Exhibit No. 183, which is a phone ca11 you had with the
defendant on July 17th of 2006.
Did I give you an opportunity to listen

to all three of these tapes this morning?

A Yes, ma'am.

Q And I told you that all three of these tapes
were redacted or stuff had been eliminated, that they

were just about your conversation about the gun; is that

correct?
A Correct.
Q And on 181, 182 and 183, whose voices are on

these tapes?
A Myself and Howard.
Q So it's you talking to Howard and him

responding to questions from you; is that correct?

 

 

 

 

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A YeS.

Q Okay. And these were fair depictions of that
short portions of these conversations, right? You
remembered having those conversations?

A Yeah.

MS. DAVIDSON: Your Honor, at this time I
would like to offer into evidence State's Exhibits 181,
182, 183 into evidence.

MS. MULDROW: Your Honor, the objection I
have are the objections I lodged before regarding the
readiness of this. We don't have at this point the
record, the full record, regarding those phone
conversations and we especially don't have anything
regarding the May 5th phone conversations, And I'll
just read in the record what we do have: The January
'07, the November 6th to January 20th, '07, and
July 17th through November the 10th of 2006.

THE COURT: Is that your objection?

MS. MULDROW: Our objection is we simply
can't give -- A, the foundation is not laid for it and,
B, we can't effectively confront the evidence because we
don't have the material.

THE COURT: That's overruled. They're
admitted.

MS. MULDROW: We ask for a running

 

 

 

 

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objection.

THE COURT: You will have it.

MS. DAVIDSON: Your Honor, just so the
record is clear, we gave Ms. Muldrow transcripts of what
is on these phone conversations and we allowed her an
opportunity to listen to them.

THE COURT: All right.

Q (By Ms. Davidson) Now, Ms. Rubac, you have no
knowledge of what happened to Farah Fratta on
November 9th of 1994, do you?

A No, ma'am.

Q Did you attend any prior hearings involving
either Robert Fratta, Joe Prystash or this defendant?

A No, ma'am.

MS. DAVIDSON: I will pass the witness,
Judge.

THE COURT: Cross-examine.

CROSS-EXAMINATION

BY MS. MULDROW:

Q The conversations you had -- good morning,
ma'am.

A Good morning.

Q The conversations that you had with Mr. Guidry

over the course of time from whenever it is you started,

was that in April --

 

 

 

 

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A April of last year.

Q -- of 2006 until -- when did you receive your
subpoena?

A About a week-and-a-half ago.

Q So that would have been in the month of
February; is that correct?

A Yes, ma'am.

Q So if jury selection began on January the 29th,

you found out about the audio recordings with respect to
the State's subpoena after jury selection began?

A Yes, ma'am.

Q Okay. The conversations that you had with
Mr. Guidry regarding what's contained in whatever was
just admitted was with respect to testimony from a prior
litigation; is that correct?

A I believe so, yes.

Q Did you get a chance to read that or discuss
that with Ms. Davidson?

A I heard the portion of the tape she had cut
out, but I didn't read anything.

Q Okay. And was that in respect to the testimony
regarding the prior litigation?

A Yes,

Q Was there also discussions about the testimony

expected in this trial?

 

 

 

 

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A I think one time, yeah.

Q Okay. And you've had conversations that total
what, 20 minutes each?

A Each call, yes.

Q And I believe Ms. Davidson mentioned there was
at least 127 calls?

A I never counted them. Yeah, I guess. A large
number.

Q A very large number?

A Yes, ma'am.

Q And in those calls did Mr. Guidry tell you that

he committed the act of capital murder?
A Oh, no.
MS. DAVIDSON: I object. Calls for
hearsay, Judge.
THE COURT: That's sustained.
MS. MULDROW: Pass the witness.
THE COURT: Anything else?
MS. DAVIDSON: One second, Judge.
REDIRECT EXAMINATION
BY MS. DAVIDSON:
Q Ms. Rubac, during some of these phone calls
that you had with the defendant, there were occasions
that you were typing as he was dictating where you were

taking notes for your articles; is that correct?

 

 

 

 

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A Uh-huh.
Q And you could have turned any of that over to

the defense, could you not?

A I could have?

Q Yes.

A I guess so, yeah.
Q But you didn't?
A No.

MS. DAVIDSON: I'll pass the witness,
Judge.
RECROSS-EXAMINATION
BY MS. MULDROW:
Q So if the defense learned when you learned
about these proceedings, these recordings in February of
'07, that would have been after jury selection began?

MS. DAVIDSON: ObjeCt. ASked and

answered.
Q (By Ms. Muldrow) Is that a yes?
A Yes,

THE COURT: That's sustained.

Don't ask questions again until after
I've ruled. Anything else?

MS. MULDROW: That's all I have, Judge.

THE COURT: You're free to go.

Call your next.

 

 

 

 

